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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF NEW JERSEY
 __________________________________________
                                            :
 SHANNON PHILLIPS                           :  CIVIL ACTION NO.
 Woolwich Township, NJ 08085                :  19-19432
                                            :
                            Plaintiff,      :
                                            :
              v.                            :  JURY TRIAL DEMANDED
                                            :
 STARBUCKS CORPORATION d/b/a/               :
 STARBUCKS COFFEE COMPANY                   :
 2401 Utah Avenue Suite 800                 :
 Seattle, WA 98134                          :
                                            :
                            Defendant.      :
 __________________________________________:

                                 ENTRY OF APPEARANCE

 TO THE CLERK:

        Kindly enter the appearance of Susan Saint-Antoine, Esquire, on behalf of the Plaintiff,

 Shannon Phillips, in the above-captioned matter.


                                                    Respectfully submitted,

                                                    CONSOLE MATTIACCI LAW, LLC

                                             By:    /s/ Susan Saint-Antoine
                                                    SUSAN SAINT-ANTOINE, ESQ.
                                                    1525 Locust Street, 9th Floor
                                                    Philadelphia, PA 19102
                                                    Phone: (215) 545-7676
                                                    santanto@consolelaw.com

                                                    Attorney for Plaintiff
 Dated: 7/18/2023
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of July, I caused the foregoing Entry of Appearance to

 be served, via ECF, to all counsel of record.




                                                       CONSOLE MATTIACCI LAW, LLC

                                                 By:   /s/ Susan Saint-Antoine

 Dated: 7/18/2023
